70 F.3d 1260
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Yusuf Abdul AL-WAHHAB, Plaintiff-Appellant,v.COMMONWEALTH of Virginia;  Supreme Court of Virginia;General Assembly of Virginia;  Governor of Virginia;Attorney General of the Commonwealth of Virginia;  theCouncil on human rights;  Board of Education, Director;Department of Corrections, Director;  Augusta CorrectionalCenter, Warden;  John/Jane Doe, Unknown Persons, Defendants-Appellees.
    No. 95-6828.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  November 16, 1995.Decided:  November 30, 1995.
    
      Yusuf Abdul Al-Wahhab, Appellant Pro Se.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his civil action and request for mandamus relief and denying reconsideration of that order.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Al-Wahhab v. Commonwealth of Virginia, No. CA-95-214 (E.D.Va. May 17, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    